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                                          United States District Court
                                          Eastern District of Missouri
                                          111 S. 10th Street, Rm.3.300
                                           St. Louis, Missouri 63102

Gregory J. Linhares                                                                            Phone: 314-244-7900
 Clerk of Court



IN RE: THE BUSINESS OF THE COURT
                                                    ORDER
IT IS HEREBY ORDERED that the Clerk of Court is directed to forward the following domestic passports to the United
States Department of State, CA/PPT/L/LA 44132 Mercure Circle, PO BOX 1227, Sterling, VA 20166-1227.

Defendant Name                Passport Number               Case Number                    JCC Date

Alalewi,Hala                  488626587                     4:18-CR-01017-AGF-001          09/27/19

Carter, Danielle              543673132                     4:18-CR-00274-ERW-021          08/27/19

Cote, Angela                  441014684                     4:19-CR-00300-ERW-001          08/13/19

Fiore, Lawrence               081027900                     4:18-CR-00886-JAR-001          09/24/19

Goodwin, Reuben               477852250                     4:17-CR-00297-AGF-003          08/08/19

Halley, Michael               496484958                     4:18-CR-00954-RLW-001          08/28/19

Miller, William               470851540                     4:19-CR-00416-RWS-001          09/06/19

Olson, Brian                  490195642                     4:18-CR-00274-ERW-004          09/04/19

Quintero, Alfredo             521474814                     4:18-CR-00784-HEA-001          09/10/19

Rana, Rehan                   483843384                     4:17-CR-00297-AGF-008          08/16/19

Rhodes-Hicks, Dawn            046019545 (expired)           4:17-CR-00300-HEA-001          08/13/19

Rhodes-Hicks, Dawn            560327266                     4:17-CR-00300-HEA-001          08/13/19

Sanders, Ricky                440478566                     1:18-CR-00170-SNLJ-001         09/25/19

Stenger, Steven               599573116                     4:19-CR-00312-CDP-001          08/09/19

Sweeney, Sheila               505802951                     4:19-CR-00375-CDP-001          8/16/19

Thomas, Joseph                498061476                     4:18-CR-00036-SNLJ-001         09/05/19

Vargas, Mario                 575967759                     4:18-CR-00922-HEA-003          09/24/19

Yusaf, Beg                    463807276                     4:19-CR-00051-CDP-001          10/25/19
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Zimmerman, Ray                 454835809            4:18-CR-00252-RLW-001        08/06/19



Dated this 6th day of November, 2019.

                                            ___________________________________________
                                            Rodney W. Sippel
                                            Chief United States District Judge
